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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DISTRICT

JOHNNY BANKS                                                                           PLAINTIFF

VS.                            CASE NO. 4:18CV00259 BSM

SHELBY HAWKINS, in his individual capacity,
et al.                                                                             DEFENDANTS


                 DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

       COME Defendants, the City of Shannon Hills, Arkansas, and Officer Shelby Hawkins in

his individual capacity, by and through undersigned counsel, Sarah Monaghan, and for their

Motion for Summary Judgment, herein state:

       1.       On or about the 28th day of February 2018, the Plaintiff filed with this court a

Complaint alleging that the Defendants violated his rights under the Fourth and Fourteenth

Amendments of the United States Constitutions to be free from excessive and unreasonable force,

as well as his right to equal protection of the laws. Mr. Banks alleges that the City is liable for the

alleged constitutional violations because an unconstitutional City policy, practice, or custom

caused the violation. Mr. Banks further claims that a failure on the part of the City to adequately

train and supervise Ofc. Hawkins caused his injury, and that the City acted negligently in the hiring

of Ofc. Hawkins. Finally, Mr. Banks brings a ratification claim against the City, alleging the City

tacitly ratified the conduct of Ofc. Hawkins by not punishing him.

       2.       Although the Defendants deny these allegations, the material facts are not in dispute

and there are no genuine issues of material fact.
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       3.       Rule 56 of Federal Rules of Civil Procedure specifically provides for the granting

of a Motion for Summary Judgment in those cases in which the material facts are not an issue and

the moving party is entitled to judgment as a matter of law.

       4.       In support of this motion, Defendants rely upon the below referenced Exhibits,

which are in addition contained in Defendants’ Statement of Uncontested Material Facts

(hereinafter SUMF) which is simultaneously being filed conventionally in the United States

District Court Clerk’s office:

                Exhibit A – Relevant Excerpts from the Deposition of Johnny Banks

                Exhibit B – Relevant Excerpts from the Deposition of Vanessa Banks;

                Exhibit C – Defendants’ Responses to Plaintiff’s Requests for Production;

                Exhibit D – Relevant Excerpts from the Deposition of Shelby Hawkins;

                Exhibit E – Defendants’ Third Supplemental Responses to Plaintiff’s Request for
                Production.

       5.       Therefore, for the reasons fully discussed in the accompanying brief and Statement

of Uncontested Material Facts, Defendants are entitled to summary judgment as to all claims

asserted against them in this matter.

       WHEREFORE, Defendants respectfully pray that the Court grant the Motion for Summary

Judgement, dismiss Plaintiff’s Complaint with prejudice, and all other proper just and proper relief.



                                                               Respectfully submitted,

                                                               CITY OF SHANNON HILLS;
                                                               And SHELBY HAWKINS, in his
                                                               individual capacity

                                                      By:      SARA MONAGHAN
                                                               Attorney for Defendants
                                                               P.O. Box 38
                                                               North Little Rock, AR 72115
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